IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
ALGANESH REDA, individually and d/b/a )
U AND I FOOD MART, )
) No. 3:10-cv-01103
Plaintiffs, )
) Judge Nixon
v. ) Magistrate Judge Knowles
)
PEERLESS INDEMNITY INSURANCE, ) JURY DEMAND
MONTGOMERY INSURANCE \ )
COMPANY, and LIBERTY MUTUAL )
GRoUP, INC., )
)
Defendants. )
ORDER

Pending before the Court is a Notice of Settlement (Doc. No. 44) and Agreed Order of
Dismissal (Doc. No. 44-1), filed by the parties to this case. The parties state that they have
settled this matter. (Doc. No. 44.) As a result, pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(ii), this case is DISMISSED with prejudice, with each party to bear its own
attorneys fees and discretionary costs. The Court DIRECTS the Clerk to close the case.
Further, the two other motions still pending in this case (Doc. Nos. 22 and 33) are
TERMINATED AS MOOT. z

lt is so ORDERED.
h

Entered this t l ` day of March, 2013.

W 41
JOHN T. NIXON, SENIOR JUDGE
UNITED STATES DISTRICT COURT

 

Case 3:10-cv-01103 Document 45 Filed 03/11/13 Page 1 of 1 Page|D #: 424

 

